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    8                                  UNITED STATES DISTRICT COURT
    9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10 ATARI INTERACTIVE, INC.,                            Case No. 2:19-CV-10806-DSF-MAA
   11                     Plaintiff,                      Assigned Judge: Hon. Dale S. Fischer
   12               vs.
                                                          ORDER OF DISMISSAL WITH
   13 RAGEON, INC.; MICHAEL                               PREJUDICE
        KRILIVSKY
   14
                          Defendants.
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                                  [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
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    1                                       ORDER
    2        Having considered Plaintiff Atari Interactive, Inc.’s (“Atari”) and Defendants
    3 Michael Krilivsky (“Krilivsky”) and RageOn, Inc.’s (“RageOn”) Stipulation of

    4 Dismissal With Prejudice (the “Stipulation of Dismissal”), and good cause

    5 appearing,

    6        IT IS HEREBY ORDERED that the lawsuit against Defendants RageOn, Inc.
    7 (“RageOn”) and Michael Krilivsky (“Krilivsky”) is dismissed with prejudice.

    8        IT IS FURTHER ORDERED that each party shall bear its own costs and
    9 attorneys’ fees.
   10        IT IS SO ORDERED.
   11   DATED: November 24, 2021
   12
                                             Honorable Dale S. Fischer
   13                                        UNITED STATES DISTRICT JUDGE
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                          [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
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    1                                  CERTIFICATE OF SERVICE
    2               I hereby certify that on this 24th day of November, 2021, I electronically filed
    3 the foregoing [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

    4 with the Clerk of the Court using the CM/ECF system which will send notification

    5 of such filing to the following:

    6                                           SERVICE LIST
    7                          Atari Interactive, Inc. v. Rageon, Inc., et al.
                    USDC, Central District of California - Case No. 2:19-CV-10806-DSF-
    8                                              MAA
    9
             William L. Buus                              Attorneys for Defendants:
   10        SCHIFFER & BUUS APC                          Michael Krilivsky and Rageon, Inc.
             959 South Coast Drive, Suite 385
   11        Costa Mesa, CA 92626
             Tel:    (949)825-6140
   12        Fax:    (949)825-6141
             Email: wbuus@schifferbuus.com
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                                                        Andrea A. Augustine
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        1945182 1                                                       Case No. 2:19-CV-10806-DSF-MAA
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                                  [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
